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  Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
  Nos., State Bar No. & Email Address
  Richard A. Marshack, Trustee
  MARSHACK HAYS LLP
  870 Roosevelt
  Irvine, CA 92620
  949 333-7777
  949 333-7778 FAX
  E-Mail: rmarshack@marshackhays.com




      Movant(s) appearing without an attorney
      Attorney for Movant(s)
                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

  In re:                                                                    CASE NO.: 8:23-bk-10571-SC
  THE LITIGATION PRACTICE GROUP P.C.,                                       CHAPTER: 11


                                                                                    DECLARATION THAT NO PARTY
                                                                                  REQUESTED A HEARING ON MOTION
                                                                                                   LBR 9013-1(o)(3)


                                                                                                   [No Hearing Required]
                                                             Debtor(s).


  1. I am the        Movant(s) or          attorney for Movant(s) or           employed by attorney for Movant(s).

  2. On (date): 06/07/2023            Movant(s) filed a motion or application (Motion) entitled: Trustee's Application to Employ
      Field Agent and Forensic Analyst [DK. 86]

  3. A copy of the Motion and notice of motion is attached to this declaration.

  4. On (date): 06/07/2023 Movant(s), served a copy of          the notice of motion or    the Motion and notice of motion
     on required parties using the method(s) identified on the Proof of Service of the notice of motion.

  5. Pursuant to LBR 9013-1(o), the notice of motion provides that the deadline to file and serve a written response and
     request for a hearing is 14 days after the date of service of the notice of motion, plus 3 additional days if served by
     mail, or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).

  6. More than 17         days have passed after Movant(s) served the notice of motion.

  7. I checked the docket for this bankruptcy case and/or adversary proceeding, and no response and request for hearing
     was timely filed.

  8. No response and request for hearing was timely served on Movant(s) via Notice of Electronic Filing, or at the street
     address, email address, or facsimile number specified in the notice of motion.

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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  9. Based on the foregoing, and pursuant to LBR 9013-1(o), a hearing is not required.

Movant(s) requests that the court grant the motion and enter an order without a hearing.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




    Date: 06/27/2023                                       _______________________________________________
                                                           /s/ Richard A. Marshack
                                                           Signature


                                                           _______________________________________________
                                                           Richard A. Marshack
                                                           Printed name




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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  1 D. EDWARD HAYS, #162507
    ehays@marshackhays.com
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    lmasud@marshackhays.com
  3 MARSHACK HAYS LLP
    870 Roosevelt
  4 Irvine, California 92620
    Telephone: (949) 333-7777
  5 Facsimile: (949) 333-7778

  6 Attorneys for Chapter 11 Trustee
    RICHARD A. MARSHACK
  7

  8                                UNITED STATES BANKRUPTCY COURT

  9                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 10

 11 In re                                                     Case No: 8-23-bk-10571-SC

 12 THE LITIGATION PRACTICE GROUP P.C.,                       Chapter 11

 13                                                           APPLICATION BY CHAPTER 7 TRUSTEE
                                                              TO EMPLOY BICHER & ASSOCIATES
 14                    Debtor.                                AS THE ESTATE’S FIELD AGENT AND
                                                              FORENSIC ANALYST; DECLARATION
 15                                                           OF LORI J. ENSLEY IN SUPPORT

 16                                                           [NO HEARING REQUIRED PURSUANT
                                                              TO RULE 9013-1(O) OF THE LOCAL
 17                                                           BANKRUPTCY RULES]

 18

 19

 20 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,

 21 THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

 22            Richard A. Marshack, in his capacity as Chapter 11 Trustee (“Trustee”) of the Bankruptcy
 23 Estate (“Estate”) of The Litigation Practice Group P.C. (“Debtor”), respectfully submits this

 24 application (“Application”) for entry of an order authorizing the employment of Bicher & Associates

 25 (“Bicher” or the “Firm”) as the Trustee’s and the Estate’s field agent and forensic analyst in this case

 26 pursuant to 11 U.S.C. §§ 327 & 330 effective May 8, 2023.

 27            In support of this Application, the Trustee respectfully represents as follows:
 28

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  1 1.         Statement of Facts
  2            A.      Background Information
  3            On March 20, 2023, The Litigation Practice Group (“Debtor”) filed a voluntary petition
  4 under Chapter 11 of Title 11 of the United States Code, initiating bankruptcy Case No. 8:23-bk-

  5 10571-SC in the United States Bankruptcy Court for the Central District of California, Santa Ana

  6 Division.

  7            On March 30, 2023, as Dk. No. 21, the United States Trustee filed a motion to dismiss or
  8 convert the case under 11 U.S.C. § 1112(b) for failure to comply with the U.S. Trustee guidelines

  9 and requirements for a chapter 11 case. No opposition to the motion was filed.

 10            On May 3, 2023, a hearing was held on the motion to dismiss or convert. At the hearing, the
 11 Court directed the U.S. Trustee to appointment a Chapter 11 Trustee in this case. Richard A.

 12 Marshack was appointed as the Chapter 11 trustee of the Debtor’s estate.

 13            Trustee requires the assistance of the Firm to assist Trustee with, among other tasks, all
 14 aspects of Trustee’s case administration including assisting all employed professionals and, if

 15 requested, to undertake analysis of books and records and prepare reports, including the

 16 investigation of avoidable transfers.

 17                    i.     Necessity of Field Agent and Possible Forensic Accounting
 18            The Trustee requires the assistance of the Firm to assist with:
 19                   Determine sources of recovery for estate including analyzing accounts receivable
 20    balances, avoidable transfers, insider transactions, preference actions and other potential claims by
 21    analyzing Debtor’s books and records and source information;
 22                   Perform solvency analysis to determine when the Debtor became insolvent;
 23                   Provide litigation support as requested;
 24                   Support the Trustee and Trustee’s professionals’ efforts to maximize recovery for
 25    creditors through financial and other analysis; and
 26                   Any other services mutually agreed upon by the Trustee and Bicher.
 27

 28

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  1 2.         Requirements for Application to Employ Professional
  2            Pursuant to Rule 2014 of the Federal Rules of Bankruptcy Procedure (“FRBP”) and Rule
  3 2014-1 of the Local Bankruptcy Rules (“LBR”), there follows a summary of the proposed

  4 employment of the Firm. Should the Office of the United States Trustee, the Court, or any party in

  5 interest request additional information, the Firm will provide a supplemental declaration prior to any

  6 hearing on this Application.

  7                    ii.    LBR 2014-1(b)(1)(A) and LBR 2014-1(b)(3)(B) Employment
  8                           and Compensation
  9            Pursuant to LBR 2014-1(b)(1)(A), “[a]n application seeking approval of employment of a
 10 professional person pursuant to 11 U.S.C. §§ 327, 328, 1103(a), or 1114 must comply with the

 11 requirements of FRBP 2014 and 6003(a) and be filed with the court. The application must specify

 12 unambiguously whether the professional seeks compensation pursuant to 11 U.S.C. § 328 or 11

 13 U.S.C. § 330.”

 14            Pursuant to LBR 2014-1(b)(3)(B), the Notice of the Application must also “[s]tate whether
 15 the professional seeks compensation pursuant to 11 U.S.C. § 328 or 11 U.S.C. § 330.”

 16            The Trustee seeks employment the Firm pursuant to 11 U.S.C. §327. The Firm will seek
 17 compensation pursuant to 11 U.S.C. §§330 and 331.

 18                    iii.   FRBP 2014
 19            Rule 2014(a) of the Federal Rules of Bankruptcy Procedure provides as follows:
 20                    An order approving the employment of attorneys, accountants, appraisers,
               auctioneers, agents, or other professionals pursuant to § 327, § 1103, or § 1114 of
 21            the Code shall be made only on application of the trustee or committee. The
               application shall be filed and, unless the case is a chapter 9 municipality case, a
 22            copy of the application shall be transmitted by the applicant to the United States
               Trustee. The application shall state the specific facts showing the necessity for the
 23            employment, the name of the person to be employed, the reasons for the selection,
               the professional services to be rendered, any proposed arrangement for
 24            compensation, and, to the best of the applicant’s knowledge, all of the person’s
               connections with the debtors, creditors, any other party in interest, their respective
 25            attorneys and accountants, the United States trustee, or any person employed in the
               office of the United States trustee. The application shall be accompanied by a
 26            verified statement of the person to be employed setting forth the person’s
               connections with the debtors, creditors, any other party in interest, their respective
 27            attorneys and accountants, the United States trustee, or any person employed in the
               office of the United States trustee.
 28

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  1            The Trustee is seeking employment of the Firm. A copy of this Application will be served on
  2 the Office of the United States Trustee.

  3                           a.      FRBP 2014 and LBR 2014-1(b)(3)(A) - Name of the
  4                                   Person to Be Employed
  5            In addition to the provisions of Rule 2014 of the FRBP, LBR 2014-1(b)(3)(A) provides that
  6 the Notice of the Application must “[s]tate the identity of the professional and the purpose and scope

  7 for which it is being employed.”

  8            The Trustee seeks to employ Bicher & Associates. The professionals who may render
  9 services in connection with the Firm’s representation of the Estate are identified in the Firm’s billing

 10 detail, to be submitted with each application for allowance of fees and reimbursement of costs, by

 11 their initials. Those persons are Robert F. Bicher and Lori J. Ensley.

 12                           b.      FRBP 2014 and LBR 2014-1(b)(3)(A) - Reasons for the
 13                                   Selection
 14            Trustee believes that the Firm is well-qualified to render the requested professional services
 15 to the Estate. The Firm comprises professionals who have extensive experience in insolvency,

 16 bankruptcy, and corporate reorganization. The Firm is experienced in debtor/creditor matters,

 17 including the representation of trustees in bankruptcy cases. The members of the Firm have over 30

 18 years of practice.

 19            A biography of each professional of the Firm and a list of the current hourly billing rates is
 20 attached as Exhibit “1” to the Declaration of Lori J. Ensley (“Ensley Declaration”).

 21                           c.      FRBP 2014 and LBR 2014-1(b)(3)(C) - Proposed
 22                                   Arrangement Compensation
 23            In addition to the provisions of Rule 2014 of the Federal Rules of Bankruptcy Procedure,
 24 LBR 2014-1(b)(3)(C) provides that the Notice of the Application must “[d]escribe the arrangements

 25 for compensation, including the hourly rate of each professional to render services, source of the

 26 fees, the source and amount of any retainer, the date on which it was paid, and any provision

 27 regarding replenishment thereof[.]”

 28

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  1            The Firm will render services to Trustee at the Firm’s regular hourly rates, which may be
  2 adjusted from time to time. Ms. Ensley’s current hourly billing rate is $110 for field agent services

  3 and her rate for professional and/or forensic rates is $230. Mr. Bicher’s typical forensic accounting

  4 rate is $320 per hour, he has also agreed to lower his hourly rate to $270 per hour to represent the

  5 Estate in this case.

  6            The Firm will be compensated from assets of the Estate, if any, and will not be compensated
  7 absent the Estate’s receipt or recovery of such assets. The Firm has received no retainer for the

  8 services to be performed in this case and has agreed that no retainer will be paid.

  9            The Firm will bill local travel expenses at the IRS mileage rate, currently 65.5 cents per mile,
 10 or 1 hour round trip at the prevailing agent rate, whichever is greater, plus any parking or other

 11 related expenses. Travel on weekends or holidays will be billed at the prevailing agent rate. The

 12 Firm will pay any toll road costs incurred and will not seek reimbursement for such expenses.

 13            Subject to 11 U.S.C. § 327(a), the Trustee requests that the Court approve a procedure where,
 14 as the Estate receives available unencumbered cash, Trustee is authorized to pay up to 80% of the

 15 invoiced field agent services and 100% of invoiced expenses, to the Firm on a monthly basis, with

 16 final approval of such compensation and reimbursement of costs to be determined upon noticed

 17 applications and approval by the Court pursuant to 11 U.S.C. § 330 and 331.

 18            The Firm understands that its compensation in this case is subject to approval by the
 19 Bankruptcy Court. In compliance with 11 U.S.C. §§ 330 and 331, the Firm intends to file interim

 20 and final applications for allowance of fees and reimbursement of costs as and when appropriate for

 21 any professional and/or forensic services. The Firm has advised Trustee that the Firm has not shared

 22 or agreed to share any compensation to be received by it in this case with any other person, except as

 23 among partners of the Firm.

 24                           d.      FRBP 2014 - Firm’s Connections and Associations
 25            Except as disclosed herein and to the best of the Firm’s knowledge, neither the Firm, nor any
 26 of the employees or professionals comprising or employed by it, has any connection with Debtor or

 27 Debtor’s attorneys or accountants, Debtor’s creditors, or any other party in interest, or their

 28 respective attorneys or accountants.

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  1            Based on the foregoing, Trustee believes that the Firm is a “disinterested person” within the
  2 meaning of Bankruptcy Code § 101(14).

  3            The Firm does not have an interest adverse to the Debtor or the bankruptcy Estate. As of the
  4 Petition Date, the Firm was not a creditor of the Estate and was not owed any funds by Debtor.

  5            To the best of the Firm’s knowledge, and as set forth in the attached Ensley Declaration,
  6 none of the professionals comprising or employed by the Firm have any connection with any judge

  7 of the United States Bankruptcy Court for the Central District of California, the United States

  8 Trustee, or any person currently employed in the Office of the United States Trustee.

  9                    iv.    LBR 2014-1(b)(1)(B) – Disinterestedness of the Firm
 10            Pursuant to LBR 2014-1(b)(1)(B), “The application must be accompanied by a declaration of
 11 the person to be employed establishing disinterestedness or disclosing the nature of any interest held

 12 by such person.” The Ensley Declaration submitted with this Application provides information

 13 establishing the Firm’s disinterestedness.

 14                    v.     LBR 2014-1(b)(1)(C) – Service on Office of the United States
 15                           Trustee
 16            Pursuant to LBR 2014-1(b)(1)(C), “The United States Trustee must be served, in accordance
 17 with LBR 2002-2(a), with a copy of the application and supporting declaration not later than the day

 18 it is filed with the court. No hearing is required unless requested by the United States trustee or a

 19 party in interest, or as otherwise ordered by the court.” As set forth in the sworn Proof of Service

 20 filed contemporaneously with this document, a copy of this Application will be served on the Office

 21 of the United States Trustee on the date this Application was filed with the Court.

 22 3.         Conclusion
 23            For the foregoing, Trustee requests the Court enter an order:
 24            1.      Approving the Trustee’s Application;
 25            2.      Authorizing Trustee to employ the Firm as its field agent pursuant to 11 U.S.C. § 327
 26 at the Firm’s hourly rates with any compensation and reimbursement of costs to be paid by the

 27 Estate on a monthly basis pursuant to the procedure described above, subject to final approval of the

 28 Court upon application to the Court pursuant to 11 U.S.C. §§ 330 and 331; and

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  1            3.      For any such other and further relief as the Court deems just and proper.
  2
      DATED: June 1, 2023
  3

  4                                                 By         __________________________________
                                                               ________________
                                                         RICHARD A  A. MARSHAC
                                                                       MARSHACK
  5                                                      Chapter 7 Trustee
  6

  7                                               MARSHACK HAYS LLP
  8
       DATED: June 1, 2023                        By: /s/ Laila Masud
  9                                                  D. EDWARD HAYS
                                                     LAILA MASUD
10
                                                     Attorneys for Chapter 7 Trustee
11                                                   RICHARD A. MARSHACK

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  1                                      Declaration of Lori J. Ensley
  2

  3            I, LORI J. ENSLEY, say and declare as follows:
  4            1.      I am an individual over 18 years of age and competent to make this Declaration.
  5            2.      I am a Principal with Bicher & Associates, the Trustee’s proposed field agent in this
  6 case.

  7            3.      I make this Declaration in support of the Application to Employ Bicher & Associates
  8 as the Estate’s field agent (“Application”) filed by Richard A. Marshack, Chapter 11 Trustee

  9 (“Trustee”) for the bankruptcy estate (“Estate”) The Litigation Practice Group P.C. (“Debtor”).

10             4.      If called as a witness, I could and would competently testify to the following of my
11 own personal knowledge.

12             5.      Trustee has asked that the Firm serve as Trustee’s and the Estate’s field agent in
13 connection with the investigation of assets, solvency and administration of assets of the Estate. The

14 Firm is well-qualified to do so.

15             6.      The Firm is well-qualified to serve as the Trustee’s field agent and forensic analyst in
16 this case. I and the Firm have been involved in dozens of prior bankruptcy cases and served as a field

17 agent for bankruptcy trustees for over three decades, and provided valuable assistance and analysis

18 in connection with dozens of prior bankruptcy cases. The members of the Firm have over 30 years of

19 experience in the areas of corporate restructuring, financial analysis and forensic accounting,

20 specifically with an emphasis on bankruptcy-specific issues.

21             7.      Trustee requested the assistance of the Firm to:
22                           Determine sources of recovery for estate including analyzing accounts
23             receivable balances, avoidable transfers, insider transactions, preference actions and other
24             potential claims by analyzing Debtor’s books and records and source information;
25                           Perform solvency analyses to determine when the Debtor became insolvent;
26                           Provide litigation support as requested;
27                           Support the Trustee and Trustee’s professionals’ efforts to maximize recovery
28             for creditors through financial and other analysis; and

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  1                          Any other services mutually agreed upon by the Trustee and Bicher.
  2            8.      A biography of each professional of the Firm with billing rates is attached as Exhibit
  3 “1” and incorporated by this reference.

  4            9.      My current hourly billing rate is $110 for field agent services and my rate for
  5 professional and/or forensic rate is $230. While Mr. Bicher’s typical forensic accounting rate is $320

  6 per hour and he has agreed to lower his hourly rate to $270 per hour to represent the Estate in this

  7 case.

  8            10.     The Firm has not received a retainer for the services that it will perform in this matter.
  9            11.     The Firm understands that its compensation in this case is subject to approval of this
10 Court pursuant to 11 U.S.C. §§ 327, 330, and 331.

11             12.     The Firm requests authorization for the Trustee to pay up to 80% of the invoiced field
12 agent services and 100% of invoiced expenses, to the Firm on a monthly basis, with interim and final

13 approval of such compensation and reimbursement of costs to be determined upon noticed

14 applications and approval by the Court pursuant to 11 U.S.C. § 330 and 331.

15             13.     The Firm has not shared or agreed to share any compensation to be received by it in
16 the case with any other person, except as among partners of the Firm.

17             14.     The Firm completed a conflicts check prior to submitting this Application.
18             15.     To the best of my knowledge, neither the Firm, nor any of the attorneys comprising or
19 employed by it, has any connection with Debtor or Debtor’s attorneys or accountants, Debtor’s

20 creditors, or any other outside party in interest, or their respective attorneys or accountants.

21             16.     The Firm is not and was not an investment banker for any outstanding security of the
22 Debtor.

23             17.     The Firm has not been within three (3) years before the date of the filing of the
24 petition herein, an investment banker for a security of Debtor, or an attorney for such an investment

25 banker in connection with the offer, sale or issuance of any security of Debtor.

26             18.     The Firm is not and was not, within two (2) years before the date of the filing of
27 Debtor’s petition, a director, officer or employee of the Debtor or of any investment banker for any

28 security of Debtor.

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    ROBERT F. BICHER III




    EDUCATION: Graduated Phi Beta Kappa with High Honors in 1975 from the

    University of California Riverside with a Bachelor of Science of Administrative

    Sciences, specializing in finance and accounting, and from the Graduate School of

    Administration (now known as the Graduate School of Management) of the University of

    California Riverside in 1978 with a Masters of Administration in Business

    Administration, specializing in finance.



    EXPERIENCE: Mr. Bicher’s experience includes: three years as a financial consultant

    for investment management firms; five years as a full-time faculty member at California

    State University San Bernardino, teaching graduate and undergraduate finance and

    marketing; four years with the Office of the United States Trustee as Senior Bankruptcy

    Analyst, administering over 3,000 Chapter 11 cases; and thirty-five years performing

    financial consulting and turnaround management services as Interim CEO/President,

    Liquidating Agent, Disbursing Agent, Claims Agent/Administrator, Forensic Accounting,

    and Court ordered Examiner for financially distressed companies, Trustees, Receivers,

    and Chapter 11 Debtors. Mr. Bicher has directly managed and controlled various types

    of operations including, but not limited to, manufacturing, retail, medical practices,

    advertising, real estate, mortgage, and service businesses.




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    LORI J. ENSLEY



    EDUCATION: Graduated in 1983 from the University of California Los Angeles with a

    Bachelor of Arts in English and minor in Economics.



    EXPERIENCE: Ms. Ensley’s experience includes nine years of accounting experience as

    a staff accountant, cost analyst, and controller for various companies; three years as

    director of operations for a manufacturing and advertising firm; and thirty-one years as a

    financial/turnaround management consultant with Robert F. Bicher & Associates. Ms.

    Ensley has overseen a variety of business operations including, but not limited to,

    manufacturing, retail, medical practices, advertising, real estate, mortgage, and service

    businesses. In addition, Ms. Ensley has assisted numerous Chapter 11 Debtors with

    United States Trustee Compliance Requirements and provided services for Chapter 11

    and 7 Trustees in Southern California, including Operations, Forensic Accounting, and

    Preference and Claims Analysis.




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    REFERENCES:


    JEFFREY W. BROKER, ESQ.                                  (949) 222-2000
    BROKER & ASSOCIATES

    ALAN J. FRIEDMAN, ESQ.                                   (949) 340-3400
    SHULMAN BASTIAN FRIEDMAN & BUI

    RICHARD A. MARSHACK, ESQ.                                (949) 333-7777
    MARSHACK HAYS, LLP

    DAVID WOOD, ESQ.                                         (949) 333-7777
    MARSHACK HAYS, LLP

    NANETTE D. SANDERS, ESQ.                                 (949) 851-7450
    RINGSTAD & SANDERS

    TODD C. RINGSTAD, ESQ.                                   (949) 851-7450
    RINGSTAD & SANDERS

    LEONARD M. SHULMAN, ESQ.                                 (949) 340-3400
    SHULMAN BASTIAN FRIEDMAN & BUI

    LYNDA T. BUI, ESQ.                                       (949) 340-3400
    SHULMAN BASTIAN FRIEDMAN & BUI

    SAM LESLIE, CPA                                          (323) 987-5780
    LEA ACCOUNTANCY

    MARC C. FORSYTHE, ESQ.                                   (949) 798-2467
    GOE FORSYTHE & HODGES

    CAROLINE DJANG                                           (949) 224-6252
    BUCHALTER




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    Current Billing Rates



    Professional Services:

    Robert F. Bicher                                          $ 320.00/Hour

    Lori J. Ensley                                            $ 230.00/Hour


    Agent Services:

    Robert F. Bicher                                          $ 110.00/Hour

    Lori J. Ensley                                            $ 110.00/Hour




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: APPLICATION BY CHAPTER 11 TRUSTEE TO EMPLOY
BICHER & ASSOCIATES AS AGENT AND ANALYST; DECLARATION OF LORI ENSLEY IN SUPPORT will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 6,
2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

MAIL REDIRECTED TO TRUSTEE
DEBTOR
THE LITIGATION PRACTICE GROUP P.C.
17542 17TH ST
SUITE 100
TUSTIN, CA 92780-1981
                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on , I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


Service on Judge not required pursuant to LBR 5005-2(d)
                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  June 7, 2023           Pamela Kraus                                                            /s/ Pamela Kraus
  Date                     Printed Name                                                          Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): continued:

        ATTORNEY FOR CREDITOR SDCO TUSTIN EXECUTIVE CENTER, INC.: Ronald K Brown
         ron@rkbrownlaw.com
        INTERESTED PARTY COURTESY NEF: Shawn M Christianson cmcintire@buchalter.com,
         schristianson@buchalter.com
        INTERESTED PARTY COURTESY NEF: Richard H Golubow rgolubow@wghlawyers.com,
         jmartinez@wghlawyers.com;svillegas@wghlawyers.com
        ATTORNEY FOR TRUSTEE: D Edward Hays ehays@marshackhays.com, ehays@ecf.courtdrive.com;
         kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com; cmendoza@ecf.courtdrive.com
        ATTORNEY FOR CREDITOR CITY CAPITAL NY: Alan Craig Hochheiser ahochheiser@mauricewutscher.com,
         arodriguez@mauricewutscher.com
        ATTORNEY FOR CREDITOR DEBT VALIDATION FUND II, LLC; CREDITOR MC DVI FUND 1, LLC; and
         CREDITOR MC DVI FUND 2, LLC: Garrick A Hollander ghollander@wghlawyers.com,
         jmartinez@wghlawyers.com; svillegas@wghlawyers.com
        ATTORNEY FOR DEBTOR THE LITIGATION PRACTICE GROUP P.C.: Joon M Khang joon@khanglaw.com
        INTERESTED PARTY COURTESY NEF: David S Kupetz David.Kupetz@lockelord.com,
         mylene.ruiz@lockelord.com
        INTERESTED PARTY COURTESY NEF: Michael D Lieberman mlieberman@lipsonneilson.com
        CHAPTER 11 TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR)
         pkraus@marshackhays.com, rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
        ATTORNEY FOR TRUSTEE: Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;
         kfrederick@ecf.courtdrive.com
        INTERESTED PARTY COURTESY NEF: Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,
         dperez@ecjlaw.com
        INTERESTED PARTY COURTESY NEF: Alan I Nahmias anahmias@mbn.law, jdale@mbnlawyers.com
        ATTORNEY FOR US TRUSTEE: Queenie K Ng queenie.k.ng@usdoj.gov
        INTERESTED PARTY COURTESY NEF: Ronald N Richards ron@ronaldrichards.com,
         7206828420@filings.docketbird.com
        INTERESTED PARTY COURTESY NEF: Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
        US TRUSTEE: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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  1 D. EDWARD HAYS, #162507
    ehays@marshackhays.com
  2 LAILA MASUD, #311731
    lmasud@marshackhays.com
  3 MARSHACK HAYS LLP
    870 Roosevelt
  4 Irvine, California 92620
    Telephone: (949) 333-7777
  5 Facsimile: (949) 333-7778

  6 Attorneys for Chapter 11 Trustee
    RICHARD A. MARSHACK
  7

  8                                UNITED STATES BANKRUPTCY COURT

  9                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 10

 11 In re                                                     Case No: 8:23-bk-10571-SC

 12 THE LITIGATION PRACTICE GROUP P.C.,                       Chapter 11

 13                                                           NOTICE OF APPLICATION BY
                                                              CHAPTER 7 TRUSTEE TO EMPLOY
 14                    Debtor.                                BICHER & ASSOCIATES AS THE
                                                              ESTATE’S FIELD AGENT AND
 15                                                           FORENSIC ANALYST

 16

 17 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,

 18 THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

 19            PLEASE TAKE NOTICE that Richard A. Marshack, in his capacity as Chapter 11 Trustee
 20 (“Trustee”) of the Bankruptcy Estate (“Estate”) of The Litigation Practice Group P.C. (“Debtor”),

 21 has filed an application (“Application”) for entry of an order authorizing the employment of Bicher

 22 & Associates (“Bicher” or the “Firm”) as the Trustee’s and the Estate’s field agent and forensic

 23 analyst in this case pursuant to 11 U.S.C. §§ 327 & 330 effective May 8, 2023.

 24            The Trustee requires the assistance of the Firm to assist with:
 25                   Determining sources of recovery for estate including analyzing accounts receivable
 26    balances, avoidable transfers, insider transactions, preference actions and other potential claims by
 27    analyzing Debtor’s books and records and source information;
 28                   Performing solvency analysis to determine when the Debtor became insolvent;
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  1                   Providing litigation support as requested;
  2                   Supporting the Trustee and Trustee’s professionals’ efforts to maximize recovery for
  3    creditors through financial and other analysis; and
  4                   Any other services mutually agreed upon by the Trustee and Bicher.
  5            The Firm will render services to Trustee at the Firm’s regular hourly rates, which may be
  6 adjusted from time to time. Ms. Ensley’s current hourly billing rate is $110 for field agent services

  7 and her rate for professional and/or forensic rates is $230. Mr. Bicher’s typical forensic accounting

  8 rate is $320 per hour, he has also agreed to lower his hourly rate to $270 per hour to represent the

  9 Estate in this case.

 10            The Firm will be compensated from assets of the Estate, if any, and will not be compensated
 11 absent the Estate’s receipt or recovery of such assets. The Firm has received no retainer for the

 12 services to be performed in this case and has agreed that no retainer will be paid.

 13            The Firm will bill local travel expenses at the IRS mileage rate, currently 65.5 cents per mile,
 14 or 1 hour round trip at the prevailing agent rate, whichever is greater, plus any parking or other

 15 related expenses. Travel on weekends or holidays will be billed at the prevailing agent rate. The

 16 Firm will pay any toll road costs incurred and will not seek reimbursement for such expenses.

 17            Subject to 11 U.S.C. § 327(a), the Trustee requests that the Court approve a procedure where,
 18 as the Estate receives available unencumbered cash, Trustee is authorized to pay up to 80% of the

 19 invoiced field agent services and 100% of invoiced expenses, to the Firm on a monthly basis, with

 20 final approval of such compensation and reimbursement of costs to be determined upon noticed

 21 applications and approval by the Court pursuant to 11 U.S.C. § 330 and 331.

 22            The Firm understands that its compensation in this case is subject to approval by the
 23 Bankruptcy Court. In compliance with 11 U.S.C. §§ 330 and 331, the Firm intends to file interim

 24 and final applications for allowance of fees and reimbursement of costs as and when appropriate.

 25            The Firm has advised Trustee that the Firm has not shared or agreed to share any
 26 compensation to be received by it in this case with any other person, except as among partners of the

 27 Firm.

 28

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  1            The complete scope and terms of the employment are detailed in the Application a copy of
  2 which can be obtained by contacting Laila Masud at the address indicated above.

  3            PLEASE TAKE FURTHER NOTICE that any response and request for hearing as to the
  4 proposed employment must be in the form as required by Local Bankruptcy Rules 2014-1(b), 9013-

  5 1(f) and (o) and filed with the Clerk of the above-entitled Court. The deadline for any response and

  6 request for hearing is 14 days after the date of service of this Notice, plus an additional 3 days unless

  7 this Notice was served by personal delivery or posting as described in F.R.Civ.P. 5(b)(2)(A)-(B). A

  8 copy of any response or request for hearing must be served on D. Edward Hays and Laila Masud at

  9 the address indicated above. A copy must also be served on the Office of the United States Trustee,

 10 411 W. Fourth Street, Suite 7160, Santa Ana, California 92701. Failure to timely respond may be

 11 deemed as acceptance of the proposed relief. See Local Bankruptcy Rules 9013-1(h).

 12

 13 DATED: June 6, 2023                           MARSHACK HAYS LLP
 14
                                                  By: /s/ Laila Masud
 15                                                  D. EDWARD HAYS
                                                     LAILA MASUD
 16                                                  Attorneys for Chapter 7 Trustee
 17                                                  RICHARD A. MARSHACK

 18

 19

 20

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): NOTICE OF TRUSTEE’S APPLICATION TO
EMPLOY BICHER & ASSOCIATES will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On June 6,
2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On June 7, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.




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3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on , I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


Service on Judge not required pursuant to LBR 5005-2(d)

                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  June 7, 2023           Pamela Kraus                                                            /s/ Pamela Kraus
  Date                     Printed Name                                                          Signature




                                                                                                                                  EXHIBIT 2
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): continued:

        ATTORNEY FOR CREDITOR SDCO TUSTIN EXECUTIVE CENTER, INC.: Ronald K Brown
         ron@rkbrownlaw.com
        INTERESTED PARTY COURTESY NEF: Shawn M Christianson cmcintire@buchalter.com,
         schristianson@buchalter.com
        INTERESTED PARTY COURTESY NEF: Richard H Golubow rgolubow@wghlawyers.com,
         jmartinez@wghlawyers.com;svillegas@wghlawyers.com
        ATTORNEY FOR TRUSTEE: D Edward Hays ehays@marshackhays.com, ehays@ecf.courtdrive.com;
         kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com; cmendoza@ecf.courtdrive.com
        ATTORNEY FOR CREDITOR CITY CAPITAL NY: Alan Craig Hochheiser ahochheiser@mauricewutscher.com,
         arodriguez@mauricewutscher.com
        ATTORNEY FOR CREDITOR DEBT VALIDATION FUND II, LLC; CREDITOR MC DVI FUND 1, LLC; and
         CREDITOR MC DVI FUND 2, LLC: Garrick A Hollander ghollander@wghlawyers.com,
         jmartinez@wghlawyers.com; svillegas@wghlawyers.com
        ATTORNEY FOR DEBTOR THE LITIGATION PRACTICE GROUP P.C.: Joon M Khang joon@khanglaw.com
        INTERESTED PARTY COURTESY NEF: David S Kupetz David.Kupetz@lockelord.com,
         mylene.ruiz@lockelord.com
        INTERESTED PARTY COURTESY NEF: Michael D Lieberman mlieberman@lipsonneilson.com
        CHAPTER 11 TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR)
         pkraus@marshackhays.com, rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
        ATTORNEY FOR TRUSTEE: Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;
         kfrederick@ecf.courtdrive.com
        INTERESTED PARTY COURTESY NEF: Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,
         dperez@ecjlaw.com
        INTERESTED PARTY COURTESY NEF: Alan I Nahmias anahmias@mbn.law, jdale@mbnlawyers.com
        ATTORNEY FOR US TRUSTEE: Queenie K Ng queenie.k.ng@usdoj.gov
        INTERESTED PARTY COURTESY NEF: Ronald N Richards ron@ronaldrichards.com,
         7206828420@filings.docketbird.com
        INTERESTED PARTY COURTESY NEF: Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
        US TRUSTEE: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov



2. SERVED BY UNITED STATES MAIL: continued:

 MAIL REDIRECTED TO TRUSTEE                        20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 DEBTOR                                            DOCUMENT FULFILLMENT SERVICES                            TUSTIN EXECUTIVE CENTER
 THE LITIGATION PRACTICE                           ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GROUP P.C.                                        GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 17542 17TH ST                                     AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 SUITE 100                                         APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 TUSTIN, CA 92780-1981                             SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
                                                   2930 RAMONA AVE #100                                     1630 S SUNKIST STEET
                                                   SACRAMENTO, CA 95826-3838                                STE A
                                                                                                            ANAHEIM, CA 92806-5816

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR / POC
 TASKUS HOLDINGS, INC.                             SHARP BUSINESS SYSTEMS                                   ADDRESS
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             OUTSOURCE ACCELERATOR LTD
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           C/O PAUL R. SHANKMAN, ESQ
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      FORTIS LLP
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            650 TOWN CENTER DRIVE, SUITE
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       1530
 1650 INDEPENDENCE DR                              8670 ARGENT ST                                           COSTA MESA, CA 92626
 NEW BRAUNFELS, TX 78132-3959                      SANTEE, CA 92071-4172



                                                                                                                                  EXHIBIT 2
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 NETSUITE-ORACLE                                   MC DVI FUND 1, LLC; MC DVI FUND 2,                       MARICH BEIN LLC
 ATTN: OFFICER, A MANAGING OR                      LLC                                                      ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          ATTN: OFFICER, A MANAGING OR                             GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         GENERAL AGENT, OR TO ANY OTHER                           OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             AGENT AUTHORIZED BY                                      APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                        APPOINTMENT OR LAW TO RECEIVE                            RECEIVE SERVICE OF PROCESS
 2300 ORACLE WAY                                   SERVICE OF PROCESS                                       99 WALL STREET
 AUSTIN, TX 78741-1400                             1598 COTTONWOOD DR                                       STE 2669
                                                   GLENVIEW, IL 60026-7769                                  NEW YORK, NY 10005-4301

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR / POC
 LEXISNEXUS                                        JP MORGAN CHASE                                          ADDRESS
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             FIRST LEGAL NETWORK, LLC
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           ATTN: OFFICER, A MANAGING OR
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      GENERAL AGENT, OR TO ANY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            OTHER AGENT AUTHORIZED BY
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       APPOINTMENT OR LAW TO
 15500 B ROCKFIELD BLVD                            3 PARK PLAZA, STE 900                                    RECEIVE SERVICE OF PROCESS
 IRVINE, CA 92618-2722                             IRVINE, CA 92614-5208                                    PO BOX 743451
                                                                                                            LOS ANGELES, CA 90074-3451

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 CREDIT REPORTING SERVICE                          ANTHEM BLUE CROSS                                        AZEVEDO SOLUTIONS GROUPS,
 INC                                               ATTN: OFFICER, A MANAGING OR                             INC
 ATTN: OFFICER, A MANAGING OR                      GENERAL AGENT, OR TO ANY OTHER                           ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          AGENT AUTHORIZED BY                                      GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         APPOINTMENT OR LAW TO RECEIVE                            OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             SERVICE OF PROCESS                                       APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                        PO BOX 511300                                            RECEIVE SERVICE OF PROCESS
 548 MARKET ST, SUITE 72907                        LOS ANGELES, CA 90051-7855                               420 ADOBE CANYON RD
 SAN FRANCISCO, CA 94104-5401                                                                               KENWOOD, CA 95452-9048

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR / POC                                20 LARGEST CREDITOR
 BUSINESS CENTERS OF                               ADDRESS                                                  COLLABORATION ADVISORS
 AMERICA                                           EXELA ENTERPRISE SOLUTIONS                               ATTN: OFFICER, A MANAGING OR
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             GENERAL AGENT, OR TO ANY
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           OTHER AGENT AUTHORIZED BY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      APPOINTMENT OR LAW TO
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            RECEIVE SERVICE OF PROCESS
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       400 DORLA COURT
 1100 SIR FRANCIS DRAKE BLVD,                      2701 E. GRAUWYLER ROAD                                   ZEPHYR COVE, NV 89448
 SUITE 1                                           IRVING, TX 75061-3414
 KENTFIELD, CA 94904-1476

 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 EXECUTIVE CENTER LLC                              DEBT PAY PRO                                             DEBT VALIDATION FUND II, LLC
 ATTN: OFFICER, A MANAGING OR                      ATTN: OFFICER, A MANAGING OR                             ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          GENERAL AGENT, OR TO ANY OTHER                           GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                         AGENT AUTHORIZED BY                                      OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                             APPOINTMENT OR LAW TO RECEIVE                            APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                        SERVICE OF PROCESS                                       RECEIVE SERVICE OF PROCESS
 5960 SOUTH JONES BLVD                             1900 E GOLF ROAD, SUITE 550                              5075 LOWER VALLEY ROAD
 LAS VEGAS, NV 89118-2610                          SCHAUMBURG, IL 60173-5870                                ATGLEN, PA 19310-1774




                                                                                                                                  EXHIBIT 2
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 20 LARGEST CREDITOR                               20 LARGEST CREDITOR                                      20 LARGEST CREDITOR
 VALIDATION PARTNERS LLC                           CALIFORNIA FRANCHISE TAX BOARD                           LIBERTY MUTUAL
 ATTN: OFFICER, A MANAGING OR                      PO BOX 942857                                            ATTN: OFFICER, A MANAGING OR
 GENERAL AGENT, OR TO ANY                          SACRAMENTO, CA 94257-0001                                GENERAL AGENT, OR TO ANY
 OTHER AGENT AUTHORIZED BY                                                                                  OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO                                                                                      APPOINTMENT OR LAW TO
 RECEIVE SERVICE OF PROCESS                                                                                 RECEIVE SERVICE OF PROCESS
 1300 SAWGRASS PKWY                                                                                         PO BOX 91013
 STE 110                                                                                                    CHICAGO, IL 60680-1171
 SUNRISE, FL 33323




                                                                                                                                  EXHIBIT 2
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: DECLARATION THAT NO PARTY REQUESTED A
HEARING ON MOTION [LBR 9013-1(o)(3)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
06/27/2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 06/28/2023         Pamela Kraus                                                     /s/ Pamela Kraus
 Date                      Printed Name                                                     Signature




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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       Ira David Kharasch ikharasch@pszjlaw.com
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        omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
       Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
       Michael D Lieberman mlieberman@lipsonneilson.com
       Richard A Marshack (TR) pkraus@marshackhays.com,
        rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
       Laila Masud lmasud@marshackhays.com,
        lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
       Kenneth Misken Kenneth.M.Misken@usdoj.gov
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       Douglas A Plazak dplazak@rhlaw.com
       Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
       Gregory M Salvato gsalvato@salvatoboufadel.com,
        calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
       Olivia Scott olivia.scott3@bclplaw.com
       Jonathan Serrano jonathan.serrano@dinsmore.com
       Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
       Leslie Skorheim leslie.skorheim@usdoj.gov
       Andrew Still astill@swlaw.com, kcollins@swlaw.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
       Sharon Z. Weiss sharon.weiss@bclplaw.com,
        raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
       Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com
